                                              UNITED STATES BANKRUPTCY COURT
                                            FOR THE EASTERN DISTRICT OF MICHIGAN
                                                 SOUTHERN DIVISION-DETROIT

IN RE: Mary A. Krutsch
                                                                                  CHAPTER 13
                                                                                  CASE NO. 18-55881
                                                                                  JUDGE Phillip Shefferly
                            Debtor(s).
_______________________________________/

                           STIPULATION EXCUSING ENTRY OF THIRD PARTY PAYMENT ORDER
                         AND ORDER TO DEBTOR TO REMIT PAYMENTS TO CHAPTER 13 TRUSTEE
                                        BY ELECTRONIC TRANSFER OF FUNDS

           The above named Debtor(s) having filed a petition for relief under Chapter 13 of the Bankruptcy Code, and having sought to excuse entry of a
third-party payment order as required by E.D. Mich. LBR 1007-1(c)(1)(A) and requesting to remit payments to the Chapter 13 Trustee by electronic
transfer of funds pursuant to E.D. Mich. LBR 1007-1(c)(1)(B) from the debtor’s (s’) bank account for the following reasons:

My only sources of income are from social security and widow’s benefit; neither of which are subject to wage-withholding.

and further seeking entry of this Order without notice inasmuch as the third-party payment order may be entered without notice, and the consent of the
Trustee having been obtained, and the Court being otherwise sufficiently advised in the premises;

          IT IS HEREBY STIPULATED that entry of a third-party payment order pursuant to E.D. Mich. LBR 1007-1(c)(1)(A) is excused pursuant to
E.D. Mich. LBR 9029-1(e) in the above-captioned matter, or in the event a previous third-party payment order was entered, said Order is voided and held
for naught until further Order of the Court;

           IT IS FURTHER STIPULATED that within 10 days of the entry of this Order, the Debtor(s) shall complete the approved Authorization
Agreement for Preauthorized Payments (ACH)** authorizing the Chapter 13 Trustee, Krispen S. Carroll , or his/her successor, to initiate debit and/or
credit entries to the bank account listed in the agreement in the amount of $809.03 per month until further order of the Court;

          IT IS FURTHER STIPULATED that these payments shall commence as of December 27, 2018, as required by 11 USC § 1326(a)(1). Any
attempt to terminate the ACH or challenge a withdrawal made pursuant to the ACH shall be made only after obtaining permission of the Bankruptcy
Court. Failure to seek prior authorization to terminate the agreement or challenge a withdrawal under the agreement may constitute cause for dismissal
pursuant to 11 USC §1307 and may result in further sanctions, as determined by the court.



Stipulated and approved for entry:                                                          Stipulated and approved for entry:



/s/ Krispen S. Carroll                                                                      /s/ William C. Babut
Krispen S. Carroll                                                                          William C. Babut P41099
Chapter 13 Trustee                                                                          Attorney for Debtor(s)


                                                                                            /s/ Mary Krutsch
                                                                                            Debtor Mary Krutsch




              18-55881-pjs
**Approved form                     Doc
                Authorization Agreement     47 FiledPayments
                                        for Preauthorized 04/15/19       Entered
                                                               (ACH) is required and is 04/15/19        12:11:41
                                                                                        available from the                  PageChapter
                                                                                                           website of the assigned 1 of132Trustee.
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          IT IS FURTHER ORDERED that Counsel for Debtor(s) shall serve a copy of the Order upon the Debtor(s).




                                                                      EXHIBIT A




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